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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 0:19-CV-62216-SINGHAL

  JANET MARTIN,

        Plaintiff,

  v.

  INTERNATIONAL FREIGHT CONSOLIDATORS, INC.,

        Defendant.
  ______________________________/




                 DEFENDANT’S STATEMENT OF FACTS
           SUPPORTING ITS MOTION FOR SUMMARY JUDGMENT




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                        About International Freight Consolidators, Inc.

          1.      International Freight Consolidators, Inc. (“IFC”), is a freight consolidation

  company in South Florida that exports merchandise to Jamaica. (Depo. Collins; p. 8: 6-19.)

          2.      IFC has four locations. (Id., p. 10: 1-16.)

          3.      IFC’s main location is in Miami. (Id., p. 10: 20-22.)

          4.      Its other locations are in West Palm Beach, Lauderdale Lakes, and Miramar. (Id.,

  p. 11: 2-5.)

          5.      IFC usually employs three warehouse personnel, four regular staff, and then during

  its busy season an additional four seasonal employees at the Lauderdale Lakes location. (Id., pp.

  11-12: 19-2.)

          6.      Michael Wright worked as a manager for IFC, and he was responsible for managing

  the Lauderdale Lakes location. (Id., p. 19: 19-21.)

                                 IFC’s Seasonal Workforce Needs

          7.      IFC has a busy season that normally lasts from about September to early December

  of each year. (Depo. Wright, p. 10: 13-21.)

          8.      IFC employs seasonal employees and year-round employees, and the difference is

  that the year-round employees have their work hours reduced at the end of the busy season, while

  the seasonal employees are terminated at the end of the busy season. (Depo. Wright, p. 14: 1-17;

  Depo. Collins, p. 13-19.)

          9.      Due to the length of time needed for shipments to be processed, loaded, transported

  by vessel to Jamaica, and then processed through customs in Jamaica, IFC customarily reduces its

  workforce during the second or third week of December each year. (Depo. Wright, pp. 10-12: 22-

  6.)




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         10.     IFC reduces its workforce to correspond with the decreased staffing needs by

  reducing the hours of its more senior, permanent office/administrative employees, and by

  terminating the employment of its seasonal, office/administrative workforce. (Depo. Collins, p. 32:

  5-21; p. 55-56: 10-1.)

         11.     IFC does not need as many employees when the business is slow because there is

  less need for staff. (Depo. Wright, p. 13: 1-10).

         12.     In December 2018, IFC reduced the hours to be worked by three other

  office/administrative personnel in the Lauderdale Lakes office: Kevin Wedderburn, Paulette

  Ximines Wiley, and Andrea Archer. (Depo. Wright, p. 17: 2-14; and ECF No. 59-1 at ¶¶15-16.)

         13.     Ms. Martin requested time off to attend a doctor’s appointment, and IFC

  accommodated her. Id., at ¶17.

         14.     Then, IFC held a staff meeting at which it informed its employees that there would

  be layoffs on December 21, 2019, due to the decrease in shipping demand. Id., at ¶19.

         15.     IFC terminated the employment of Jennifer Flores, Danielle Thompson, and

  Marjorie Escoffery on December 21, 2018, but did not terminate Ms. Martin’s employment on

  that day. (Id., at ¶20; Depo. Wright, p. 16: 2-7.)

         16.     IFC made the decision to terminate Ms. Martin’s employment as of January 4,

  2019, which corresponded with the end of the (next) pay period. Id., at ¶22.

         17.     IFC ultimately terminated Ms. Martin’s employment on January 4, 2019, which

  was the last day of the subsequent pay period. (Depo. Collins, p. 30: 3-5; Exhibit “A” at

  BATES003377.)

         18.     IFC typically hires “casual laborers” to perform warehouse cleanup after the busy

  shipping season. (Depo. Collins, p. 32: 5-21.)




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                                  Work History of Janet Martin

         19.     IFC hired Janet Martin to work as a seasonal customer service agent during IFC’s

  busy shipping season. (Depo. Collins, p. 20: 17-22.)

         20.     Ms. Martin began working for IFC on October 16, 2017, and then stopped working

  for IFC on December 28, 2017. (Exhibit “B” at BATES00007-BATES00012.)

         21.     Notably, Ms. Martin worked only 54 hours from December 2, 2017, through

  December 14, 2018, and then worked only 64.41 hours from December 16, 2017, through

  December 17, 2018, when her seasonal employment ended. (Exhibit “B” at BATES000011-

  BATES000012.)

         22.     Ms. Martin resumed working for IFC on January 27, 2018, on a part-time basis,

  working approximately 20 hours per week, through May 31, 2018. (Exhibit “B” at BATES000013-

  BATES000021.)

         23.     After several months, Ms. Martin returned to work at IFC for its busy season

  starting in late August 2018 until January 4, 2019. (Exhibit “A” at BATES0003368-

  BATES003378.)

         24.     Ms. Martin’s hours were reduced starting in December 2018 from 80 hours every

  two weeks to just under 71 hours every two weeks for the pay period from December 15-28, 2018,

  and she then worked a total of 24.61 hours the following (her last) pay period. (Exhibit “A” at

  BATES0003377- BATES003378.)

         25.     In the meantime, Ms. Martin requested by text message to Mr. Collins, time off so

  that she could “have treatment” on January 3, 2019:




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  (Exhibit “C”.)

          26.      Ms. Martin did not work on January 3, 2019. Id.

          27.      Ms. Martin’s employment with IFC ended on January 4, 2019. (Depo. Collins, p.

  30: 3-5.)

          28.      Mr. Wright is the one who told Ms. Martin that her employment ended and

  explained to her the reason was due to her being a “seasonal employee” and due to the “seasonal

  downturn in business”. (Depo. Wright, pp. 18-19: 16-13.)

          29.      Even though Mr. Wright informed Ms. Martin that her seasonal employment

  ended when she arrived at work at IFC on January 4, 2019, and although Ms. Martin did not work

  that day, IFC still paid her for the day as if she had worked. (Depo. Wright, p. 19: 5-19.)

          Ms. Martin Knew What She Was Doing After Her Employment Ended

          30.      Promptly after being fired, Ms. Martin sent in her Charge of Discrimination to the

  EEOC on January 14, 2019, through her counsel. (Exhibit “D”.)

          31.      Four days later, on January 18, 2019, Ms. Martin applied for Social Security

  Disability Benefits over the phone and attested that she, “became unable to work because of [her]

  disabling condition on January 4, 2019.”




                                         **           **               **




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  [ECF No. 59-2 at 2-3.]1

          32.       Ms. Martin also applied for Social Security Supplemental Insurance Benefits on

  January 22, 2019, wherein she again attested that her “disability began on January 4, 2019.” [ECF

  No. 59-2 at 4.]

          33.       Ms. Martin also knew that she had the opportunity to correct any misstatements in

  the transcripts of her applications for Social Security benefits.




  [ECF No. 59-2 at 4.]

          34.       Ms. Martin was approved to receive Social Security Disability as of July 2019. [ECF

  No. 59-2 at 10.]

          35.       Plaintiff cannot argue that Ms. Martin was unaware of her ability to modify or

  correct her statements to the Social Security Administration, or that she was unaware of the

  contents of those applications, considering that Ms. Martin requested a review of her Supplemental

  Security Income decision. [ECF No. 62-2.]




  1       See https://blog.ssa.gov/prepare-for-your-disability-interview-tips-from-social-security/ (“You can
  apply for benefits on our website; it’s the most convenient way. Additionally, you can contact us at 1-800-
  772-1213 (TTY 1-800-325-0778) or visit your local office if you wish to apply for disability benefits.”)



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                                            Procedural History

          36.       Ms. Martin filed the Complaint in this case on September 5, 2019, through the

  same counsel who filed her Charge of Discrimination with the EEOC. [ECF No. 1.]

          37.       IFC filed its Answer and Affirmative Defenses on October 4, 2019. [ECF No. 8.]

          38.       After exchanging written discovery and after IFC obtain records from non-parties,

  Ms. Martin refused to appear for deposition, resulting in the Court entering an Order requiring

  that she appear for deposition. [ECF Nos. 35, 40.]

          39.       Ms. Martin died on May 19, 2021, without giving a deposition in this case. [ECF

  Nos. 44, 52-1.]

          40.       Jennifer Gobern petitioned the Probate Court in Broward Count to open an Estate

  for Ms. Martin on November 29, 2021, identifying the potential settlement proceeds of this case

  (of $100,000) as the only assets of Ms. Martin’s estate. (Exhibit “E” at ¶7.)

          41.       Plaintiff requested and received the Court’s permission to substitute Jennifer

  Gobern as the Personal Representative of the Estate of Janet Martin as the Plaintiff in this case.

  [ECF No. 52.]

                            IFC Did Not Discriminate Against Ms. Martin

          42.       Mr. Collins did not know that Ms. Martin had cancer or was being treated for

  cancer at any time before he decided to terminate her employment on January 4, 2019. (Depo.

  Collins, p. 56: 2-19.)

          43.       Mr. Collins did not know the type of treatment that Ms. Martin was receiving on

  January 3, 2019, and he had no idea that she was undergoing chemotherapy on that day. (Depo.

  Collins, p. 50: 21-17.)




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          44.      Mr. Collins made the decision to terminate Ms. Martin’s employment. (Depo.

  Collins, p. 56: 17-18.)

          45.      The decision to terminate Ms. Martin’s employment had absolutely nothing to do

  with whether she had cancer” or “with whether she was undergoing treatment for cancer”. (Depo.

  Collins, p. 56-57: 20-7.)

          46.      IFC did not discriminate against Ms. Martin because of her disability. [ECF No.

  59-1 at ¶¶47-51.]

          47.      Ms. Martin never told Mr. Wright about any illness that she had during her

  employment. (Depo. Wright, pp. 27-28: 24-2.)

          48.      Mr. Wright never talked about Ms. Martin’s health or health conditions with other

  employees at any meeting. (Id., at p. 28: 3-7.)

          49.      Mr. Wright did not discuss any concerns he had about Ms. Martin’s health with

  Mr. Collins. (Id., at p. 28: 8-11.)

          50.      While she worked for IFC, Mr. Wright did not learn what medical condition Ms.

  Martin had. (Id., at pp. 28-29: 21-1; 66: 18-23.)

          51.      Ms. Martin never told Mr. Wright about any medical from which she suffered,

  about any disability, or about any limitations in the work that she could perform. (Id., at p. 31: 12-

  23.)

          52.      Mr. Wright did not reduce Ms. Martin’s hours because of any illness that she had.

  (Id., at p. 32: 3-7.)

          53.      Mr. Wright did not discriminate against Ms. Martin. (Id., at p. 32: 10-13.)

          54.      Mr. Wright did not believe that IFC discriminated against Ms. Martin. (Id., at p.

  32: 14-20.)




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          55.     IFC did not terminate Ms. Martin’s employment for any reason related to any

  illness from which she suffered or any disability. (Id., at pp. 32-33: 21-12.)

          56.     Mr. Wright never told Mr. Collins that he or IFC could not keep Ms. Martin

  employed because of her health. (Id., at p. 71: 4-12.)

          57.     Mr. Wright never told Mr. Collins or anyone else at IFC that he was afraid that

  Ms. Martin would fall down when she was with a customer. (Id., at p.71-72: 18-6.)

                                    CERTIFICATE OF SERVICE

          Dated this 8th day of July 2022.

                                                           s/Brian H. Pollock, Esq.
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